3/30/2021 Case 2:20-cr-00383-MJH Documerit:6-b=Fahea:04/06/21 Page 1 of 7

Gyailcom

HOBbIN anBOKaT

From: “Bukh Law Firm, P.L.L.C." <honorable@usa.com>
To:
Date: Feb 25, 2021 3:59:47 PM

SSS

YBaxkaemplu Makcum,

Coo6umte Ham noxKanyicra, 6yfAeTe AN BbI HAHUMATb YACTHOIO agBoKata, unu byAeTe C6pauiaTeca K public
defender.

Cnacn6o.
C yBaxkeHnem,

Katrina Plotnikova

Paralegal

Bukh Law Firm, P.L.L.C.-

1123 Ave Z Brooklyn NY 11235

Tel +1-718-376-4766

Fax +1-718-376-3033

www. BukhLaw.com

Skype: arkady.bukh

Bukh Law Firm, P.L.L.C..- CONFIDENTIALITY NOTICE:

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individual or entity to whom it is addressed. It may contain
information that is privileged, confidential and exempt from
disclosure under applicable law.

Re: new attorney
Date: Feb 25, 2021 3:59:47 PM

Dear Maksim,

Please let us know if you are going to hire a private law firm, or intend to use
public defender’s services.

Thank you.

Sincerely,

end of translated document

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ay30/2001 Case 2:20-cr-00383-MJH Document&6rdeiled04/06/21 Page 2 of 7

[@ailcom

HOBbIN AaNBOKaT

From: "Bukh Law Firm, P.L.L.C." <honorable@usa.com>
To:
Date: Feb 26, 2021 4:41:06 PM

YBaxaembin Makcum,

Coo6unte Ham noxKanylicta, 6byfAeTe 1M BbI HAHUMATb YACTHOFO agBoKaTa, uu SygeTe Obpalijatecsa K public
defender.

Ecnu 310 6yAeT YaCTHbIN AQBOKAT, TO MbI AOJDKHbI NOANUCaTb C HUM Copmy oO Cormacunu Ha 3aMEHY aABOKaTa.
Ecnu Ke BbI xOTUTe O6paTuTKca K public defender, MbI rOTOBbI NOMOUb BaM NOAFOTOBUTb CPopMbl, HEO6xoAMMbIe
Ana Toro, uTO6bI STOT AABOKAT 3awWeN Ha KeNC.

NoxKanyucta, CoOobwWMTe Ham O CBOeM peweHun.,

Cnacu6o.
C yBaxeHuem,

Katrina Plotnikova

Paralegal

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disclosure under applicable law.

Re: new attorney
Date: Feb 26, 2021 4:41:06 PM

Dear Maksim, \
Please let us know if you are going to hire a private law firm, or intend to use
public defender’s services.

Should you decide to hire a private firm we will need to sign consent to change
attorney form with them.

Should you decide to apply for public defender’s services we are willing to
assist you with preparation of the forms needed for attorney to enter the case.
Please let us know about your decision.

Thank you.

Sincerely,

end of translated document
3/30/2021 Case 2:20-cr-00383-MJH DocumentbGeduodsileghO4/06/21 Page 3 of 7

faiLcom

Re: HOBbIN anBOKaT

From: “Max Boyko" >
To: "Bukh Law Firm, P.L.L.C." <honorable@usa.com>
Date: Feb 26, 2021 7:57:46 PM

eq SES

Ao6ppih AeHb. A coo6wy Bam Oo CB0eM peweHuu B Camoe OnUKaNwee BPeMA, Cpa3zy noche Toro, KaK BbI NpuluiNeTe MHE
CUHaNbHbIN AOroBOp u 6uNN Ha CFOBOPeHHyto paHee cymmy. Bce 3TH AOKYMeHTbI NOANMWY HeEZaMeANUTeNbHO, Nocne Yero
Bbl BEPHeTe ACHEX*KHbIM OCTaTOK Ha MOeM GanaHce Ha Mou cueT. C Apkaquem mbI neperosopunu uv BnonHe Hann O6uynn

AZbIK. Hagerocb MbI pewiMM BCe STH paboune MOMeHTbI B CamMoe GnUMKaNWee BPeMA. Bnarogaph Bac 3a NOHMMaHnve U
conevctrene.

Best regards,
Maksim Boiko.

Re: new attorney
Date: Feb 26, 2021 7:57:46 PM

Good day. I will let you know about my decision soon, right after you send me

the final agreement and the bill for discussed amount. I will sign all these

documents right away and after that you will return the remainder of money .
into my account. I spoke with Arkady and we found common ground. Ihope

we resolve all this as soon as possible. Thank you for understanding and

cooperation.

Best regards,
Maksim Boiko.

end of translated document

a Case 2:20-cr-00383-MJH Documa@nt,54@cLiosiled.Q4/06/21 Page 4 of 7

Ggailcom

Re: HOBbIN agBoKaT

From: "Bukh Law Firm, P.L.L.C.“ <honorable@usa.com>
To: “Max Boyko" <
Date: Feb 26, 2021 9:09:47 PM

eo SS SD

Mbl rOTOBbI NOMOUb Bam C OopmMNeHuem 3anpoca Ha NpesoctaBneHne CIA public defender.

Bam HyxkHO 6ygeT CBA3aTBCA C Oducamn CIA attorneys B Tex LUTaTax, B KOTOPbIX paCCMaTpMBaloTca Baul AeNa,
WU CHEAOBAaTb UX UHCTPYKUMAM.

Homep tenedoua CJA attorneys B NencunbBanun: 412-644-6565

Homep tenedoua CJA attorneys B Hbio-JpKkepcu: 973-645-6347

Jina 3aaBKu Ha npegoctasnenve CJA attorney Bam noTpe6yerTca 3anonHuTb (bunaHCcoBble PopmbI nog“obHple
Tem, YTO B NpuNnoxKeHUN K STOMY NUCbMy.
Ecnu Bam noHago6utca NOMOUb C 3ANONHeHNeM 3TUX MAM UHbIX POPM, MbI FOTOBbI OKa3aTb COMeNCTBUe.

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information that is privileged, confidential and exempt from
disclosure under applicable law.

Re: new attorney
Date: Feb 26, 2021 9:09:47 PM

We are willing to assist you with an application for a CJA public defender.

You heed to contact the offices of CJA attorneys in those states where you have
cases, and follow their instructions.

Phone number of the CJA attorneys’ office in Pennsylvania: 412-644-6565
Phone number of the CJA attorneys’ office in New Jersey: 973-645-6347

In order lo prepare the request for CJA attorneys’ aid you will need to fill out
financial forms similar to those attached to this email.
We are ready to help you if you need assistance with filling out these forms.

end of translated document

3/30/2021 Case 2:20-cr-00383-MJH Documant,54cliosfiled,Q4/06/21 Page 5 of 7

Cnacu6o.
C yBaxkeHnem,

Katrina Plotnikova
: Paralegal
Bukh Law Firm, P.L.L.C.-
. 1123 Ave Z Brooklyn NY 11235
* Tel +1-718-376-4766
' Fax +1-718-376-3033
> www. Bukhlaw.com
’ Skype: arkady.bukh
Bukh Law Firm, P.L.L.C..- CONFIDENTIALITY NOTICE:
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. disclosure under applicable law.

Attachments

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© cja23.pdf

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oy,

nN
NO
a Case 2:20-cr-00383-MJH Docume@nt,>@z1ofziled.Q4/06/21 Page 6 of 7

Ggailcom

Re: HOBbINM aABOKaT

From: "Bukh Law Firm, P.L.L.C."" <honorable@usa.com>
To: "Max Boyko"
Date: Mar 2, 2021 5:13:22 PM

Mbi roToBb! NOMO4b BaM C O*oOpmMNeHvem 3anpoca Ha NpesocrasBnenue CIA public defender.

Bam Hy2KHO 6ygeT CBA3aTbCA C Ocucamu CIA attorneys B Tex WTaTax, B KOTOPbIX PaCCMaTPUBaAlOTCA Balu AeNAa,
UW CNeAOBaTb UX UHCTPYKUMAM.

Homep Tenedoua CJA attorneys B MeHcunbsanun: 412-644-6565

Homep Tenedoua CJA attorneys B Hbto-{pxepcu: 973-645-6347

Ana 3anBkn Ha npegocrasnenue CJA attorney Bam noTpebyeTcs 3anonHuTb (buHaHcoBble Popmsi Nnogo6uble
TeM, 4UTO B NPUNOKeHMM K STOMY NMCeMy.
Ecnu BamM nOHaAOGMTCA NOMOLb C 3ANONHEHNEM 9TUX MN MHbIX OPM, MbI FOTOBbI OKAZaTb COMeNCTBUe.

Bukh Law Firm, P.L.L.C.-

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Tel +1-718-376-4766

Fax +1-718-376-3033

www. BukhLlaw.com

Skype: arkady.bukh

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information that is privileged, confidential and exempt from
disclosure under applicable law.

Sent: Friday, February 26, 2021 at 6:57 PM

From: "Max Boyko" -

To: "Bukh Law Firm, P.L.L.c.” <nonorable@usa.com>
Subject: Re: HoBbin agBoKkaT

Ao6ppii AeHb. A coo6uyy Bam 0 CBOeM peweHun B Camoe 6nuwrxawee BpemaA, Chazy Nocne Toro, Kak BbI
npuwinere MHe (uHanbHbIM AOroBop u Gun Ha OrOBOpeHHylo paHee CymMmMy. Bce 3TW AOKyMeHTbI NOANMWY
He3saMeANUTeNbHO, NOCNe Yero BbI BEPHETe AEHEXKHbIM OCTATOK Ha MOeM GanaHce Ha MOM CueT. C
Apkagem mbI neperoBopunu uv BnonHe Haw O6UIMK A3bIK. HagetoCcb MbI PelwMM BCe STU pa6boune
MOMeHTbI B Camoe 6nuKaitwee Bpema. Bnarogapto Bac 3a NOHMMaHnue UM COmeNcTBue.

Best regards,
Maksim Boiko,

On Feb 26, 2021, at 3:41 PM, Bukh Law Firm, P.L.L.C. <honorable@usa.com> wrote:

YBaxxaembin Makcum,

Coo6ute Ham noKanyiicra, 6byfeTe 1M BbI HAHMMaTb YACTHOrO afBoKaTa, usu 6yAeTe COpaujaTbca K
public defender.

Ecnu ato 6yfeT YaCTHbIA aZBOKAT, TO MbI AOJKHbI NOANMCATb C HUM @opmy o

cornacnu Ha 3aMeHy afBoKaTa.

Ecnu xe BbI xoTMTe O6paTuTECA kK public defender, MbI roTOBbI NMOMOUb BaM NOArOTOBUTe PopmbI,
HeOoOxOAuUMbIe ANA TOrO, YTOGbI STOT AABOKAT 3BawWeN Ha KeNC.

Noxkanycta, coo6uywTe HaM O CBOeM peweHun.

https://3¢-Ixa.mail com/mail/client/mail/print;jsessionid=ECF5 1 04ED88D695B4B4DE52D726493 F0-n2.1xa 1 4b?mailld=tmai 1668a2¢ec5d4 | 5a32

22,
"3/30/2021 Case 2:20-cr-00383-MJH Documant,56eLioskiles,@4/06/21 Page 7 of 7

Cnacu6o.
* C yBaxkeHnem,

Katrina Plotnikova
Paralegal
Bukh Law Firm, P.L.L.C.-
~ 1123 Ave Z Brooklyn NY 11235
Tel +1-718-376-4766
Fax +1-718-376-3033
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Skype: arkady.bukh
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Attachments

e 11727_cic_5a.pdf
e cja23.pdf

Re: new attorney
Date: March 2, 2021 5:13:22 PM

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You need to contact the offices of CJA attorneys in those states where you have
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Phone number of the CJA attorneys’ office in New Jersey: 973-645-6347

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end of translated document

